                                         C.V.

                                   Peter H. Klopfer

Personal

Born, August 9, 1930, Berlin, Germany
Married, 1955; 3 children


Education

B.A., University of California at Los Angeles, 1952 (with honors)
Ph.D., Yale University, 1957


Scholarships and Fellowships

Graduate Assistant, Yale University, 1953-1954; 1956
Postdoctoral Research Fellow, U.S. Public Health Service,
University of Cambridge, 1957-1958.
Elected Fellow, American Association for the Advancement of Science, 1963
Special Postdoctoral Fellowship, U.S. Public Health Service, 1964
Career Development Award, NIMH, 1965-1970
Elected Fellow, Animal Behavior Society, 1968
Research Scientist Award, NIMH, 1970-1975


Honors and Awards

Outstanding Professor Award, Duke University Student Association, 1968
Humboldt Award, Alexander von Humboldt Stiftung of the German Federal Republic,
      1979-1980
United Negro College Fund, Disting. Prof. for 1985-86
Inaugural Lectures, Bolyai College, Eötvös University, Budapest, 1995
Samual Cook Society Distinguished Service Award, 2008


Professional Positions

Science Instructor, Windsor Mt. School, Lenox, Massachusetts, 1952-1953
Head, Science Department, Windsor Mt. School. Lenox, Massachusetts, 1956
Assistant Professor, Department of Zoology, Duke University, 1958-1963
Associate Professor, Department of Zoology, Duke University, 1963-1967
Professor, Department of Zoology, Duke University, 1967- present
Visiting Professor, Zoology Institute, Tel-Aviv University, 1970 (Spring)




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Visiting Professor, Abt. Physiol.-verhalten, Tübingen University, 1979-1980
Visiting Professor, Institute for Veterinarian Science, Hebrew University, 1987
Visiting Professor, Zoologie, Universität Potsdam, 1992


Professional Offices

Regional

Executive Committee, American Friends Service Committee, Southeastern Region, 1967-
74; 2003-2010
Executive Committee and Board of Directors, Carolina Friends School, 1963-2010
Collegiate Academy Representative, North Carolina Academy of Science, 1959-60

University

Undergraduate Faculty Council, 1959-64; 1988-89
Neuro-Sciences Curriculum Committee, 1965-66
Animal Care Committee, 1966-68
Academic Council, 1967-71
Organization for Tropical Studies Representative, 1967-82
Duke Chapter AAUP Secretary 1967-69
Director, Field Station for Animal Behavior Studies, 1968-73
Board of Directors, Student YM-YWCA, 1969-70
Institutional Animal Care and Use Committee, 1997- present

National and International

Behavioral Biology Panel, National Academy of Sciences, 1967-68
Associate Editor, Journal of Experimental Zoology, 1970-76
Editorial Advisor, Springer Verlag, 1970-1990
U.S. Representative, International Ethology Committee, 1967- 77
Experimental Psych. Panel, NIMH, 1972-76
Editorial Board, American Naturalist, 1972-76
Co-Editor, Perspectives in Ethology (Plenum Press) 1972-1994
Organization for Tropical Studies, Board of Directors, 1967-82
Board of Editors, International Journal of Comparative Psychology, 1995-2000

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to feeding behavior in birds. Behaviour, 14(4):282-299.

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